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  8                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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 10   CANDEE L MORTON,                         )   Case No.: 2:21-cv-02878-RAO
                                               )
 11                Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                               )   EQUAL ACCESS TO JUSTICE ACT
 12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                               )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   KILOLO KIJAKAZI,                         )   AND COSTS PURSUANT TO 28
      Acting Commissioner of Social            )   U.S.C. § 1920
 14   Security,                                )
                                               )
 15                Defendant                   )
                                               )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal
 18   Access to Justice Act Fees, Costs, and Expenses:
 19         IT IS ORDERED that fees and expenses in the amount of $1,730.00 as
 20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
 21   awarded subject to the terms of the Stipulation.
 22
 23   DATE: November 12, 2021
 24                                   ___________________________________
                                         _____
                                           _ _______________________
                                      HONORABLE ROZELLA A. OLIVER
 25                                   UNITED STATES MAGISTRATE JUDGE
 26

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